Case 2:15-cv-01045-RFB-BNW Document 966-3 Filed 02/05/24 Page 1 of 4




                  Exhibit B
     Case 2:15-cv-01045-RFB-BNW Document 966-3 Filed 02/05/24 Page 2 of 4



From: Class Action Administrator <info@ufcfighterclassaction.com>
Sent: Friday, December 8, 2023 11:51 AM
To:
Subject: Notice of Certification of Class of UFC Fighters – Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate
Fighting Championship and UFC

[EXTERNAL]


     Notice ID: UFC


                         NOTICE OF CERTIFICATION OF CLASS OF UFC FIGHTERS


                 Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship and UFC
                                Case No. 2:15-cv-01045-RFB-BNW (D. Nev.)


      If you competed in one or more live professional UFC-promoted MMA bouts taking
        place or broadcast in the United States from December 16, 2010 to June 30, 2017
          (the “Class Period”), you could be affected by the Court’s Class Certification
                                       Decision and Order.

     A federal court directed this Notice. This is not junk mail, an advertisement, or a solicitation from a
                                                    lawyer.



     What is the purpose of this Notice?

     This notice is authorized by the Court to inform all persons who competed in one or more live
     professional UFC-promoted MMA bouts taking place or broadcast in the United States from
     December 16, 2010 to June 30, 2017 (the “Class Period”), that they could be affected by the Court’s
     class certification decision and order in a class action lawsuit called Cung Le, et al. v. Zuffa, LLC
     d/b/a Ultimate Fighting Championship and UFC, Case No. 2:15-cv-01045-RFB-BNW (the
     “Action”). The Court’s Order excludes all persons who are not residents or citizens of the United
     States unless the UFC paid such persons for competing in a bout fought in the United States during
     the Class Period.

     On August 9, 2023, the Honorable Richard F. Boulware, II of the United States District Court for the
     District of Nevada, entered an order certifying a class of UFC Fighters (the “Bout Class”) in the
     Action. Bout Class members have the right to know about the Court’s certification of the Bout Class
Case 2:15-cv-01045-RFB-BNW Document 966-3 Filed 02/05/24 Page 3 of 4




to pursue claims against the Defendant. Bout Class members have the right to continue in the Action
as a member of the Bout Class or to exclude themselves from the Class (see below).

What is the Lawsuit About?

The lawsuit claims that Defendant used an anticompetitive scheme to establish and maintain its market
dominance, allowing it to pay its fighters substantially less than it would have paid in a more
competitive market in violation of federal antitrust law. The Defendant denies these claims and any
allegation of wrongdoing, and asserts that there is ample competition in the market for MMA fighters,
its conduct was procompetitive, and UFC continually and substantially increased fighter pay over the
Class Period. The Honorable Richard F. Boulware, II of the United States District Court for the
District of Nevada is overseeing the Action. Judge Boulware has not decided which side is correct.

Who is in the Bout Class?

You are a member of the Bout Class certified by the Court if you competed in one or more live
professional UFC-promoted MMA bouts taking place or broadcast in the United States from
December 16, 2010 to June 30, 2017. The Bout Class excludes all persons who are not residents or
citizens of the United States, unless the UFC paid such persons for competing in a bout fought in the
United States during the Class Period.

Who represents the Bout Class?

The Court has appointed the following law firms as Co-Lead Counsel (“Class Counsel”) to represent
the Class: Berger Montague PC, Cohen Milstein Sellers & Toll, PLLC, and Joseph Saveri Law Firm,
LLP. Class Counsel has been prosecuting this Action, i.e., overseeing and performing work to advance
the litigation on behalf of the Plaintiffs and the Class since before it was filed in December 2014.

You do not need to hire your own lawyer because Class Counsel is working on your behalf. If you want
your own lawyer, you may hire one, but you will be responsible for any payment for that lawyer’s
services.

What are the rights of Bout Class members?

You have the right to continue participating in the Action as a Bout Class member. You do not need
to do anything at this time to remain in the Bout Class or to be a part of the Action against the
Defendant. If you do not exclude yourself from the Bout Class and thus remain a Bout Class member
in the Action against the Defendant, you will retain the possibility of receiving money or other benefits
Case 2:15-cv-01045-RFB-BNW Document 966-3 Filed 02/05/24 Page 4 of 4




from the Defendant that may come from trial or settlement. By remaining in the Bout Class, you will
be bound by the outcome of the Action, whether it is favorable or unfavorable, and you will give up
your right to file your own separate lawsuit with regard to any of the claims asserted or issues decided
in the Action.

There is no money available now from the Defendant, and there is no guarantee that there will be
any in the future. The outcome of the Action against the Defendant is not yet known.

You also have the right to exclude yourself from the Bout Class, in which case you would preserve
any right you may have to bring or continue a lawsuit of your own against the Defendant for the
same or similar claims against the UFC, but you would give up the right to receive any payment that
could result from trial or future settlements in the Action with the Defendant.

If you wish to exclude yourself from the Bout Class, you must send a written letter or request for
exclusion by January 22, 2024 in the manner described in Question 12 of the Court’s Notice of
Certification of Class of UFC Fighters (available on the Settlement Website at
www.UFCFighterClassAction.com). The Court will exclude you from the Bout Class if you submit
a timely written request. If you do not exclude yourself from the Bout Class, you will not be able to
sue on your own, or continue to sue on your own, the Defendant with respect to any of the claims
asserted or issues decided in this Action.

What’s next?

Trial has been set to begin on April 8, 2024.

This Notice is only a Summary.

For additional information, visit www.UFCFighterClassAction.com or call toll-free 1-866-955-
5564. You may also write to the Class Action Administrator by mail: UFC Fighter Class Action, c/o
Class Action Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103, or email:
info@UFCFighterClassAction.com.




                                             Unsubscribe
